                                                                                         FILED                                                                                                                  LODGED
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   AD 442 (Rev. 11/11) ArrestWarrant
                                                                                                                                                                    May 20 2024
                                                                                                                                                                           CLERK U.S. DISTRICT COURT
                                                                                                                                                                              DISTRICT OF ARIZONA
                                                          UNITED STATES DISTRICT COURT
                                                                                                     for the
                                                                                             District of Arizona

                        United States of America
                                            v.                                                          )
                                                                                                        )              Case No.        MJ-24-04152-001-PCT-CDB
                                                                                                        )
                             Mark      Adams            Prieto
                                                                                                        )
                                                                                                        )
                                                                                                        )
                                      Defendant


                                                                                   ARREST WARRANT
   To:        Any authorized law enforcement officer


             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
   (name afperson to be arrested)                Mark       Adams         Prieto
                                             ~~--~~~~~-----------------------------------------------------
  who is accused of an offense or violation based on the following document filed with the court:

  o Indictment        o Superseding Indictment    o Information o Superseding Information                                                                                           ~ Complaint
  o Probation Violation Petition    o Supervised Release Violation Petition o Violation Notice                                                                                      0 Order of the Court
  This offense is briefly described as follows:
     18 U.S.C.     § 933(a)(1)        Trafficking           in Firearms




  Date: ------------
            05/15/2024
                                                                                                                                          Issuing officer's s

  City and state:        _F_la_,g"-"s_ta_ff...:._,_A_r_iz_o_na                         sI_Debra D. Luca_:s,'-c_le_rk        N..::..ca=ta_:li..::..ca-=B_:eC2rg..._a::;_:n_:_:d::c;e:..:..:r/-=-J-=u.:::;:_d:_.=ic_:_::ia:_:__1
                                                                                                                                                                                ::_A:..::.s::::_:si:..::.st=ac:..:n..::_t _
                                                                                                                                            Printed name and title


                                                                                                 Return

             This warrant was received on (date)                               51 t 5 I J.. ol.t-j          , and the person was arrested on (date) sit                                  412.'1 CS ~'. ceprl)
  at (city and state)  ~ \..,t,u 0 \)1::_Q..Qifc. 1\.]'1'/\


  Date:      S\ \l \ ).'-\



                                                                                                                                            PriAted name and title




cc: USM& PTS
